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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   JAIME SALAS
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              No. 1:06-cr-271 AWI
                                           )
12                     Plaintiff,          )              STIPULATION TO CONTINUE STATUS
                                           )              CONFERENCE AND ORDER THEREON
13         v.                              )
                                           )              Date: August 27, 2007
14   JAIME SALAS,                          )              Time: 9:00 a.m.
                                           )              Judge: Honorable Anthony W. Ishii
15                     Defendant.          )
     _____________________________________ )
16
17          IT IS HEREBY STIPULATED by and between the parties hereto and through their respective
18   counsel, KATHLEEN A. SERVATIUS, Assistant United States Attorney, counsel for Plaintiff, and ERIC
19   V. KERSTEN, Assistant Federal Defender, counsel for Defendant Jaime Salas, that the status conference
20   set for July 30, 2007 may be continued to August 27, 2007 at 9:00 a.m. The date currently set for status
21   conference is July 30, 2007. The requested new date is August 27, 2007.
22          This request is made to allow for the presence of defense counsel, who will be unavailable on the
23   currently scheduled date, and to allow time for further efforts to reach a negotiated settlement in this
24   matter prior to setting a trial date. The parties agree that the delay resulting from the continuance shall
25   ///
26   ///
27   ///
28   be excluded as necessary for effective defense preparation and continuity of counsel pursuant to 18 U.S.C.
                Case 1:06-cr-00271-AWI Document 84 Filed 07/30/07 Page 2 of 2


 1   § 3161(h)(8)(B)(iv).
 2
 3                                                                    McGREGOR W. SCOTT
                                                                      United States Attorney
 4
 5           DATED: July 26, 2007                                By /s/ Kathleen A. Servatius
                                                                    KATHLEEN A. SERVATIUS
 6                                                                  Assistant U.S. Attorney
                                                                    Attorney for Plaintiff
 7
 8                                                                    DANIEL J. BRODERICK
                                                                      Federal Defender
 9
10           DATED: July 26, 2007                                By /s/ Eric V. Kersten
                                                                     ERIC V. KERSTEN
11                                                                   Assistant Federal Defender
                                                                     Attorney for Defendant
12                                                                   Jaime Salas
13
14
15
16                                                  ORDER
17           IT IS SO ORDERED. The intervening period of delay is excluded in the interests of justice
18   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
19
20   IT IS SO ORDERED.
21   Dated:      July 27, 2007                          /s/ Anthony W. Ishii
     0m8i78                                       UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Status Conference
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